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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                    4:06-CR-00319-01 BRW

ANTONIA ADAMS                                                                     DEFENDANT

                                             ORDER

       The Government asks that the current conditions of Defendant’s supervised release be

modified to allow him to travel outside the district with the approval of his supervising probation

officer (Doc. No. 158). Defendant is an independent truck driver with a Commercial Driver’s

License. Defendant’s probation officer does not object. The Motion is GRANTED.

       Defendant is allowed to travel within an area of approximately 500 miles of his home

during the day, and return home in the evening.

       IT IS SO ORDERED this 8th day of March, 2012.



                                                  /s/Billy Roy Wilson
                                           UNITED STATES DISTRICT JUDGE
